Case:23-13858-JGR Doc#:85 Filed:03/04/24 Entered:03/04/24 15:45:04 Pagel of 1

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Debtor 1 Sandra Rosemary Oldenburg
First Name Middle Name Last Name
Debtor 2 Lee Michael Oldenburg
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: District of Colorado
Case number 23-13858 JGR wi Check if this is an
(if known) amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

a Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

MANo

(Yes. Name of person Attach Bankruptcy Petition Preparer's Notice, Declaration, and
Signature (Official Form 119).

Under penalty of perjury, | declare that I have read the summary and schedules filed with this declaration and that they are true and correct.

burg, Debtor 1 Lee Michael Oldenburg, Debtor 2

Sandra Rosemary O!

Date 03/01/2024 Date 03/01/2024
MM/ DD/ YYYY MM/ DD/ YYYY

Official Form 106Dec Declaration About an Individual Debtor's Schedules

